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                         IN THE UNITED STATES DISTRICT COURT
                                       DISTRICT OF UTAH


                                                    NOTICE OF INTENT TO RELY ON THE
  UNITED STATES OF AMERICA,                         EXPERT TESTIMONY OF SPECIAL
                                                    AGENT TYLER OLSON PURSUANT TO
          Plaintiff,                                FED. R. CRIM. PRO. 16(a)(1)(G) AND
                                                    FED. R. EVID. 702
          vs.
                                                    Case No. 1:21-CR-73 RJS
  DANA JEAN STEELE,
                                                    Judge Robert J. Shelby
          Defendant.



       The United States of America (“United States”), by and through the undersigned Assistant

United States Attorney, and pursuant to Rule 16(a)(1)(G) of the Federal Rules of Criminal

Procedure and Rule 702 of the Federal Rules of Evidence, hereby provides to defendant the

following notice relating to expert testimony the United States may offer in the trial of this case.

       The United States respectfully reserves the right to offer additional testimony by this

expert, or other expert witness(es), and for the experts to amend or adjust their opinions and bases

for those opinions due to information made known to the experts before or during trial.

                         Rule 702 and Rule 16(a)(1)(G) Expert Notice

       Rule 702 of the Federal Rules of Evidence provides that “[a] witness who is qualified as

an expert by knowledge, skill, experience, training, or education may testify in the form of an
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opinion or otherwise if: (a) the expert’s scientific, technical, or other specialized knowledge will

help the trier of fact to understand the evidence or to determine a fact in issue; (b) the testimony

is based on sufficient facts or data; (c) the testimony is the product of reliable principles and

methods; and (d) the expert has reliably applied the principles and methods to the facts of the

case.” The Advisory Committee Note to the 2000 Amendments to the rule provides that “if the

witness is relying solely or primarily on experience, then the witness must explain how that

experience leads to the conclusion reached, why that experience is a sufficient basis for the

opinion, and how that experience is reliably applied to the facts [of the case].” The United States

provides the following proffer to fulfill the above requirements and the requirement of Rule

16(a)(1)(G) of the Federal Rules of Criminal Procedure and describes “the witnesses’ opinions,

the bases and reasons for those opinions, and the witnesses’ qualifications.” 1

Rule 16(a)(1)(G) Summary

         Interstate Nexus

         The United States will offer expert testimony from ATF Tyler Olson. Agent Olson will

testify regarding the origin of the following five firearms involved in this case (collectively, the

“subject firearms”) as it relates to the interstate nexus element of 18 U.S.C. § 922(g)(1) (Felon in

Possession of Firearms):

    •    Armscor, Model 200, .38 caliber revolver, S/N: AP210314,
    •    Romarm/Cugir, Model PSL, 7.62 caliber rifle, S/N: R-9749-09
    •    Romarm/Cugir, Model GP WASR 10-/63, 7.62 caliber rifle, S/N: 1975FV4994
    •    Molot, Model VEPR, 7.62 caliber rifle, S/N: 12VBK9030
    •    Taurus, Model PT111 G2, 9mm caliber pistol, S/N: TIX41754




1
 See United States v. Velarde, 214 F.3d 1204 (10th Cir. 2000) (holding that a district court must make a reliability
determination, but procedure for doing so within the discretion of the court).

                                                          2
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Specifically, Agent Olson will testify that the subject firearms seized in this case on or about

January 28, 2021, and that are alleged to have been possessed by defendant, were manufactured

and/or traveled outside the state of Utah. By virtue of the subject firearms’ presence in Utah,

Agent Olson will opine that the firearms traveled in and thereby affected commerce. Agent

Olson’s opinion is based upon his examination of the relevant evidence and records pertaining to

subject firearms and upon his training, experience, and research performed on these firearms.

       Agent Olson’s report, which he will rely upon for his testimony, is attached hereto as

Exhibit 1. The United States anticipates Agent Olson will testify consistent with his report

relating to the interstate commerce element under Count 1 of the Superseding Indictment for

each of the subject firearms.

       Rule 16(a)(1)(G) Qualifications

       Agent Olson’s qualifications and training are included in his CV, which is attached hereto

as Exhibit 2. Agent Olson has extensive training and experience in, among other areas, firearms

classification, identification, origin and design, as outlined in his CV. He has been with the

Bureau of Alcohol, Tobacco, Firearms and Explosives since April 2008.

       Agent Olson has received training relating to the identification of firearms and

ammunition, including completing:

   •   ATF Industry Operations Investigator Basic Training, ATF National Academy in Glynco,
       Georgia (2004).

   •   Criminal Investigator Training Program, Federal Law Enforcement Training Center in
       Glynco, Georgia (2008).

   •   ATF Special Agent Basic Training, ATF National Academy in Glynco, Georgia (2008)

   •   ATF Firearms Interstate Nexus Training, ATF Firearms Technology Branch in
       Martinsburg, West Virginia (2012), which included specialized training on the definition
       of firearms, manufacturer and importer marking requirements, examining actual firearm
       markings, and reference material for researching firearms.

                                                 3
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        During the course of his duties, Agent Olson has had numerous contacts with Federal

firearm importers, manufacturers, and dealers. Additionally, Agent Olson has examined

thousands of firearms for the purpose of determining: (1) the manufacturer and/or importer,

model, caliber/gauge, serial number, and place of manufacturer; (2) function and design; and (3)

status as to the Gun Control Act and/or National Firearms Act. Agent Olson also has toured

many firearm and manufacturing facilities as listed in his CV. Further, Agent Olson has access

to, among other resources, multiple internal ATF databases and other proprietary information

relating to firearm tracing, registration, licensing, inspections, firearm markings, variances, and

technical reports relating to the identification and classification of firearms and/or ammunition.

Agent Olson has been recognized as an expert witness in determining the interstate nexus of

firearms and ammunition in the United States District Court for the District of Utah and the

District of Nevada.

        Pursuant to Rule 16(a)(1)(G)(iii), Agent Olson does not have any publications over the

last ten years.

        Pursuant to Rule 16(a)(1)(G)(iii), Agent Olson has testified as an expert at trial or

deposition three times in the following cases:

    •   United States v. Brandon Keith Thompson, Case No. 2:21-cr-00316-DBB (District of
        Utah), date of testimony: 1/31/2023.

    •   United States v. William Eblon Dean, Case No. 2:18-cr-00128-CW (District of Utah),
        date of testimony: 12/12/2018.

    •   United States v. Fernando Miguel Samora, Case No. 2:17-cr-00637-JNP (District of
        Utah), date of testimony: 7/31/2018.




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        Pursuant to Rule 16(a)(1)(G)(v), Agent Olson has reviewed this summary and filing, and

has approved this filing. Furthermore, she has allowed this filing to be electronically signed

here:



                                                     /S/ _Tyler K. Olson_______
                                                     TYLER K. OLSON
                                                     ATF Special Agent




        DATED this 6th day of December, 2023.

                                                     TRINA A. HIGGINS
                                                     United States Attorney

                                                     /s/ Nathan D. Lyon
                                                     NATHAN D. LYON
                                                     MARIA MOOERS-PUTZER
                                                     Assistant United States Attorneys




                                                 5
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                       ATTACHMENT A
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 U.S. Department of Justice                                                          Report of Investigation
 Bureau of Alcohol, Tobacco, Firearms and Explosives


 Title of Investigation:                                                                              Investigation Number:    Report Number:
 Interstate Nexus Reports- Direct File Cases (FY 24)                                                  788045-24-0002                      16




SUMMARY OF EVENT:

INTERSTATE NEXUS DETERMINATION: On December 5, 2023, Special Agent (S/A) Tyler Olson determined that
firearms involved in this investigation traveled in interstate and/or foreign commerce.

NARRATIVE:

    1. ATF Special Agent (S/A) Tyler Olson attended the ATF Firearms Interstate Nexus Training Course in
       Martinsburg, West Virginia, which included training on the definition of firearms, manufacturer and importer
       marking requirements, examining actual firearm markings, and receiving reference material for researching
       firearms and ammunition. S/A Olson has previously been recognized as an expert in determining the interstate
       nexus of firearms and ammunition in the United States District Court for the District of Utah and District of
       Nevada.

    2. On December 5, 2023, S/A Olson determined that the following firearms were manufactured outside of the
       State of Utah, and therefore traveled in interstate and/or foreign commerce to arrive in the State of Utah:

                          Armscor, Model 200, .38 caliber revolver, serial number: AP210314, was manufactured by Armscor of
                           the Philippines in the Philippines. The firearm was then imported into the United States by Armscor
                           Precision Inc. dba Rock Island Armory in Pahrump, Nevada. The firearm was transferred to Williams
                           Shooters Supply Inc. in Quincy, Illinois, and then Rods Armory Gallery in Boulder City, Nevada, where
                           it was purchased by a Nevada resident. The firearm was recovered in Utah.

                          Romarm/Cugir, Model PSL, 7.62 caliber rifle, serial number: R-9749-09, was manufactured by
                           Romarm/Cugir in Romania. The firearm was imported into the United States by Century Arms
                           International in Georgia, Vermont. The firearm was then transferred to Centerfire Systems Inc. in
                           Versailles, Kentucky, and then Kent Shooters Supply in Ogden, Utah, where it was purchased by an
                           Oregon resident. The firearm was recovered in Utah.

                          Romarm/Cugir, Model GP WASR 10-/63, 7.62 caliber rifle, serial number: 1975FV4994, was
                           manufactured by Romarm/Cugir in Romania. The firearm was imported into the United States by
                           Century Arms International in Georgia, Vermont. The firearm was then transferred to Centerfire
                           Systems Inc. in Versailles, Kentucky, and then Kent Shooters Supply in Ogden, Utah, where it was
                           purchased by a Utah resident. The firearm was recovered in Utah.


 Prepared by:                                          Title:                                                Signature:                    Date:
 Tyler K. Olson                                        Special Agent, Salt Lake City III

 Authorized by:                                        Title:                                                Signature:                    Date:
 Randolph K. Owens Jr                                  Resident Agent in Charge, Salt Lake City III

 Second level reviewer (optional):                     Title:                                                Signature:                    Date:
 Christopher B. Beavers                                Special Agent in Charge, Denver Field Division


                                                                            Page 1 of 2                                       ATF EF 3120.2 (10-2004)
                                                                                                                              For Official Use Only
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                                                                   Investigation Number: Page  8Number
                                                                                           Report of 31:
Interstate Nexus Reports- Direct File Cases (FY 24)                                 788045-24-0002                     16


                         Molot, Model VEPR, 7.62 caliber rifle, serial number: 12VBK9030, was manufactured by Molot
                          (Vyatskie Polyany Machine Building Plant) in Russia. The firearm was imported into the United States
                          by Tennessee Gun in Knoxville, Tennessee. The firearm was transferred to Kent Shooters Supply in
                          Ogden, Utah, where it was purchased by a Utah resident. The firearm was recovered in Utah.

                         Taurus, Model PT111 G2, 9mm caliber pistol, serial number: TIX41754, was manufactured by Taurus
                          in Brazil. The firearm was imported into the United States by Taurus International in Miami, Florida.
                          The firearm was transferred to Davidson’s Inc. in Greensboro, North Carolina, and then Ace Firearms
                          LLC in West Jordan, Utah, where it was purchased by a Utah resident. The firearm was recovered in
                          Utah.

      3. S/A Olson further determined that these items are firearms as defined by Title 18, United States Code, Chapter
         44, Section 921(a)(3).

      4. This determination was made through knowledge, training, and experience, by referencing the Bureau of
         Alcohol, Tobacco, Firearms and Explosives list of firearm manufacturers, importers, and dealers, using
         proprietary ATF issued marking variances, ATF tracing information, and/or other industry related reference
         material.

      5. The above determination is based on the description of the firearms from the ATF trace reports, and not on an
         actual examination of the firearms.

ATTACHMENT:
                         Statement of Qualifications




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                                                                                                           For Official Use Only
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                                                                                                      Contact Us

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            Firearm Trace Details
                 View the Referral Lists associated with this trace                                                      Printer-Friendly Report(PDF)

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                                  Trace Reference
                                  Trace Number:                      T20210051068            Request Date:                 02/03/2021
                                  Status:                            Completed               eTrace User:                  MKRUEG1
                                  Completion Date:                   03/03/2021


                                  Summary of Results
                                  THIS FIREARM WAS TRACED TO A PURCHASER. FOR ANY QUESTIONS, PLEASE CONTACT ATF NATIONAL
                                  TRACING CENTER, FIREARMS TRACING BRANCH AT 1-800-788-7133.



                                  The information in this report must be validated prior to use in any criminal proceedings.



                                  Firearm Information
                                  Manufacturer:                  TAURUS                             Type:                        PISTOL
                                  Caliber:                       9
                                  Model:                         PT111 G2
                                  Serial Number:                 TIX41754                           Country of Origin:           BRAZIL
                                  Barrel:                                                           Ballistics No.:
                                  Finish:
                                  Importer:                      TAURUS INTERNATIONAL MANUFACTURING INC, MIAMI FL
                                  Obliterated?                   No                                 Removal Code:
                                  Restored:                                                         Drill Size:
                                  Identifying Marks:
                                  Images Attached:               0


                                  Requestor Information
                                  Law Enforcement Agency                                 Officer Last Name:              BURRELL
                                  UT0290100
                                  OGDEN CITY POLICE DEPARTMENT
                                                                                         Officer Suffix:
                                  2186 LINCOLN AVENUE
                                  OGDEN, UT 84401
                                  UNITED STATES                                          Officer First Name:             KASEY
                                  PHONE (801) 629-8221 Ext:
                                  FAX (801) 629-8086
                                                                                         Officer Badge No.:


                                  Agency Case No.:           21N-94


https://etrace.atf.gov/etrace/trace_detail.do?id=T20210051068&trace_suspect_guns=false&trace_multiple_sales=false&trace_interstate_theft=false&t…       1/4
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               Recovery Information
               Firearm Recovered

               Recovery Date:         01/28/2021                              Time to Crime:                          1895 days
               Address:               1231 VALHALLA DR                        Vehicle Year:
                                      CLEARFIELD, UT 84015
                                                                              Vehicle Make:

                                                                              Vehicle Model:
                                                                              Vehicle Tag Number:
               Location Type:         RESIDENCE                               Vehicle Tag State:
                                                                              Vehicle Tag Country:




               Dealer Information
               Dealer: 1
               Business Name:               TAURUS                                                         Out of Business
               Licensee Name:               TAURUS INTERNATIONAL MANUFACTURING INC
               Address:                     16175 NW 49TH AVE
                                            MIAMI, FL 33014


               FFL Number:                  15923597                          Last Inspection:             03/14/2014
               Contact Name:                                                  Phone:                       (305) 624-1115
               Invoice Number:                                                Transaction Date:



               Dealer: 2
               Business Name:
               Licensee Name:               DAVIDSONS INC
               Address:                     8320 TRIAD DR
                                            GREENSBORO, NC 27409


               FFL Number:                  15610266                          Last Inspection:             11/20/2017
               Contact Name:                                                  Phone:                       (336) 665-0644
               Invoice Number:                                                Transaction Date:            11/12/2015



               Dealer: 3
               Business Name:               ACE FIREARMS LLC
               Licensee Name:               ARMED CITIZENS EDUCATION LLC
               Address:                     5569 W SNAPDRAGON COVE
                                            WEST JORDAN, UT 84081


               FFL Number:                  98702015                          Last Inspection:             03/23/2022
               Contact Name:                                                  Phone:                       (801) 347-8307
               Invoice Number:                                                Transaction Date:            11/17/2015




               Purchaser Information

               Name:                   KENT BENSON CHUGG                                         Criminal         N/A
                                                                                                 History?
               Last Known              7519 KAY LN                                               Race:            WHITE
               Address:                SOUTH WEBER, UT 84405



                                                                                                 Sex:             M
               Purchase Date:          11/21/2015                                                Height:          5 ft 10 in


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                                                                                    - Trace Detail
                                                                                                Weight:        174 lbs
               DOB:                    02/18/1955
               POB:                    LOGAN, UT
                                       UNITED STATES

               ID 1:                   UT    DRIVER'S LICENSE                                   #: 002194601
               Country 1:              UNITED STATES
               ID 2:                   UT   CONCEALED WEAPON PERMIT                             #: C120536
               Country 2:              UNITED STATES

               Alias Name:                                                                      Alias DOB:




               Possessor/Associate Information
               Possessor
               Name:                   DANA JEAN STEELE                                         Criminal       N/A
                                                                                                History?
               Last Known              1231 VALHALLA DR                                         Race:          WHITE
               Address:                CLEARFIELD, UT 84015



                                                                                                Sex:           F
                                                                                                Height:        5 ft 8 in
                                                                                                Weight:        175 lbs
               DOB:                    10/18/1967
               POB:
                                       UNITED STATES

               ID 1:                         SOCIAL SECURITY                                    #:***_**_6158
               Country 1:              UNITED STATES
               ID 2:                    FBI CRIMINAL ID                                         #: 407764EB1
               Country 2:              UNITED STATES

               Alias Name:                                                                      Alias DOB:


               Associate
               Name:                   JUSTIN MICHAEL VANDERWOUDE                               Criminal       N/A
                                                                                                History?
               Last Known              1231 VALHALLA DR                                         Race:          WHITE
               Address:                CLEARFIELD, UT 84015



                                                                                                Sex:           M
                                                                                                Height:        5 ft 8 in
                                                                                                Weight:        150 lbs
               DOB:                    10/21/1980
               POB:
                                       UNITED STATES

               ID 1:                         SOCIAL SECURITY                                    #:***_**_9846
               Country 1:              UNITED STATES
               ID 2:                    FBI CRIMINAL ID                                         #: 190028TB7
               Country 2:              UNITED STATES

               Alias Name:                                                                      Alias DOB:




               Administrative Information
               Priority:                    ROUTINE
               NCIC Crime Code:             5212                         POSSESSION OF WEAPON
               Special Instructions:
               Gang Name:

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               Trace Indicators:            NAR - NARCOTICS RELATED



            This report does not constitute a fulfillment of the Interstate Nexus requirement in any Federal, State or
            Administrative legal process or litigation. That expert testimony or Interstate Nexus determination is made through
            trained experts who must be contacted at the local ATF Field Office or Field Division Directorate.

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           The information, which is made available thru the eTrace website, is for official law enforcement use only. ATF may only disseminate
           firearm trace related data to a Federal, State, local, tribal, or foreign law enforcement agency, or a Federal, State, or local prosecutor,
           solely in connection with and for use in a criminal investigation or prosecution; or a Federal agency for a national security or
           intelligence purpose. This provision shall not be construed to prevent the sharing or exchange of such information among and between
           Federal, State, local, or foreign law enforcement agencies, Federal, State, or local prosecutors, and Federal national security,
           intelligence, or counterterrorism officials.

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                                                  we will do our best to make the information available to you.

               This site is best viewed at 800x600 screen resolution or higher using Internet Explorer 10.0 or higher, Edge, Firefox, or Chrome.


                   You are accessing a U.S. Government information system, which includes: (1) this computer, (2) this computer network, (3) all
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                           this information system. At any time, the government may monitor, intercept, search and/or seize data transiting or
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                           Any communications transmitted through or data stored on this information system may be disclosed or used for any
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                   (NIST 800-53)




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                                                                                                      Contact Us

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            Firearm Trace Details
                 View the Referral Lists associated with this trace                                                      Printer-Friendly Report(PDF)

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                                  Trace Reference
                                  Trace Number:                      T20210051092            Request Date:                 02/03/2021
                                  Status:                            Completed               eTrace User:                  MKRUEG1
                                  Completion Date:                   03/18/2021


                                  Summary of Results
                                  THIS FIREARM WAS TRACED TO A PURCHASER. FOR ANY QUESTIONS, PLEASE CONTACT ATF NATIONAL
                                  TRACING CENTER, FIREARMS TRACING BRANCH AT 1-800-788-7133.



                                  The information in this report must be validated prior to use in any criminal proceedings.



                                  Firearm Information
                                  Manufacturer:                  MOLOT (VYATSKIE POLYANY            Type:                        RIFLE
                                                                 MACHINE BUILDING PLANT)
                                  Caliber:                       762
                                  Model:                         VEPR
                                  Serial Number:                 12VBK9030                          Country of Origin:           RUSSIA
                                  Barrel:                                                           Ballistics No.:
                                  Finish:
                                  Importer:                      TG KNOX TN - TENNESSEE GUN, KNOXVILLE, TN
                                  Obliterated?                   No                                 Removal Code:
                                  Restored:                                                         Drill Size:
                                  Identifying Marks:
                                  Images Attached:               0


                                  Requestor Information
                                  Law Enforcement Agency                                 Officer Last Name:              BURRELL
                                  UT0290100
                                  OGDEN CITY POLICE DEPARTMENT
                                                                                         Officer Suffix:
                                  2186 LINCOLN AVENUE
                                  OGDEN, UT 84401
                                  UNITED STATES                                          Officer First Name:             KASEY
                                  PHONE (801) 629-8221 Ext:
                                  FAX (801) 629-8086
                                                                                         Officer Badge No.:




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               Agency Case No.:            21N-94


               Recovery Information
               Firearm Recovered

               Recovery Date:         01/28/2021                              Time to Crime:                          2715 days
               Address:               1231 VALHALLA DR                        Vehicle Year:
                                      CLEARFIELD, UT 84015
                                                                              Vehicle Make:

                                                                              Vehicle Model:
                                                                              Vehicle Tag Number:
               Location Type:         RESIDENCE                               Vehicle Tag State:
                                                                              Vehicle Tag Country:




               Dealer Information
               Dealer: 1
               Business Name:               TGI KNOX TN                                                    Out of Business
               Licensee Name:               TG INTERNATIONAL INC
               Address:                     4662 SINGLETON STATION RD
                                            LOUISVILLE, TN 37777


               FFL Number:                  16201596                          Last Inspection:             07/31/2015
               Contact Name:                                                  Phone:                       (865) 977-9707
               Invoice Number:                                                Transaction Date:



               Dealer: 2
               Business Name:               KENT SHOOTERS SUPPLY                                           Out of Business
               Licensee Name:               RJJ INC
               Address:                     307 WASHINGTON BLVD
                                            OGDEN, UT 84404


               FFL Number:                  98733042                          Last Inspection:             09/06/2018
               Contact Name:                                                  Phone:                       (801) 394-8487
               Invoice Number:                                                Transaction Date:            07/26/2013




               Purchaser Information

               Name:                   GABRIEL COLIN LEATHERBURY                                 Criminal         N/A
                                                                                                 History?
               Last Known              5152 S 100 E                                              Race:            WHITE
               Address:                WASHINGTON TERRACE, UT 84405



                                                                                                 Sex:             M
               Purchase Date:          08/23/2013                                                Height:          5 ft 10 in
                                                                                                 Weight:          204 lbs
               DOB:
               POB:

               ID 1:                                                                             #:
               Country 1:
               ID 2:                    SOCIAL SECURITY                                          #: 7033
               Country 2:              UNITED STATES

               Alias Name:                                                                       Alias DOB:


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               Possessor/Associate Information
               Possessor
               Name:                   DANA JEAN STEELE                                         Criminal       N/A
                                                                                                History?
               Last Known              1231 VALHALLA DR                                         Race:          WHITE
               Address:                CLEARFIELD, UT 84015



                                                                                                Sex:           F
                                                                                                Height:        5 ft 8 in
                                                                                                Weight:        175 lbs
               DOB:                    10/18/1967
               POB:
                                       UNITED STATES

               ID 1:                         SOCIAL SECURITY                                    #:***_**_6158
               Country 1:              UNITED STATES
               ID 2:                    FBI CRIMINAL ID                                         #: 407764EB1
               Country 2:              UNITED STATES

               Alias Name:                                                                      Alias DOB:


               Associate
               Name:                   JUSTIN MICHAEL VANDERWOUDE                               Criminal       N/A
                                                                                                History?
               Last Known              1231 VALHALLA DR                                         Race:          WHITE
               Address:                CLEARFIELD, UT 84015



                                                                                                Sex:           M
                                                                                                Height:        5 ft 8 in
                                                                                                Weight:        150 lbs
               DOB:                    10/21/1980
               POB:
                                       UNITED STATES

               ID 1:                         SOCIAL SECURITY                                    #:***_**_9846
               Country 1:              UNITED STATES
               ID 2:                    FBI CRIMINAL ID                                         #: 190028TB7
               Country 2:              UNITED STATES

               Alias Name:                                                                      Alias DOB:




               Administrative Information
               Priority:                    ROUTINE
               NCIC Crime Code:             5212                         POSSESSION OF WEAPON
               Special Instructions:
               Gang Name:

               Trace Indicators:            NAR - NARCOTICS RELATED



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            Administrative legal process or litigation. That expert testimony or Interstate Nexus determination is made through
            trained experts who must be contacted at the local ATF Field Office or Field Division Directorate.
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          Case
12/5/23, 10:18 AM 1:21-cr-00073-RJS-DBP                 Document 64   Filed- eTrace
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                                                                                    - Trace Detail
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          Case
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            Firearm Trace Details
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                                  Trace Reference
                                  Trace Number:                      T20210049870            Request Date:                 02/02/2021
                                  Status:                            Completed               eTrace User:                  MKRUEG1
                                  Completion Date:                   03/17/2021


                                  Summary of Results
                                  THIS FIREARM WAS TRACED TO A PURCHASER. FOR ANY QUESTIONS, PLEASE CONTACT ATF NATIONAL
                                  TRACING CENTER, FIREARMS TRACING BRANCH AT 1-800-788-7133.
                                  Additional Remarks:         PER SERIALIZATION, THE S/N IS MISSING DIGITS.



                                  The information in this report must be validated prior to use in any criminal proceedings.



                                  Firearm Information
                                  Manufacturer:                  ROMARM/CUGIR                       Type:                        RIFLE
                                  Caliber:                       762
                                  Model:                         GP WASR 10/63
                                  Serial Number:                 1975FV4994                         Country of Origin:           ROMANIA
                                  Barrel:                                                           Ballistics No.:
                                  Finish:
                                  Importer:                      CAI GEORGIA VT - CENTURY INTL ARMS INC.
                                  Obliterated?                   No                                 Removal Code:
                                  Restored:                                                         Drill Size:
                                  Identifying Marks:
                                  Images Attached:               0


                                  Requestor Information
                                  Law Enforcement Agency                                 Officer Last Name:              BURRELL
                                  UT0290100
                                  OGDEN CITY POLICE DEPARTMENT
                                                                                         Officer Suffix:
                                  2186 LINCOLN AVENUE
                                  OGDEN, UT 84401
                                  UNITED STATES                                          Officer First Name:             KASEY
                                  PHONE (801) 629-8221 Ext:
                                  FAX (801) 629-8086
                                                                                         Officer Badge No.:




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          Case
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                                                                                    - Trace Detail
               Agency Case No.:            21N-94


               Recovery Information
               Firearm Recovered

               Recovery Date:         01/28/2021                              Time to Crime:                        2640 days
               Address:               1231 VALHALLA DR                        Vehicle Year:
                                      CLEARFIELD, UT 84015
                                                                              Vehicle Make:

                                                                              Vehicle Model:
                                                                              Vehicle Tag Number:
               Location Type:         RESIDENCE                               Vehicle Tag State:
                                                                              Vehicle Tag Country:




               Dealer Information
               Dealer: 1
               Business Name:               C A I / CENTURY ARMS
               Licensee Name:               CENTURY INTL ARMS INC
               Address:                     236 BRYCE BLVD
                                            GEORGIA, VT 05454-5529


               FFL Number:                  60305541                          Last Inspection:           02/12/2020
               Contact Name:                                                  Phone:                     (802) 527-1258
               Invoice Number:                                                Transaction Date:



               Dealer: 2
               Business Name:               CENTERFIRE SYSTEMS INC                                       Out of Business
               Licensee Name:               UNITED ARMS CORPORATION
               Address:                     102 FIELDVIEW DRIVE
                                            VERSAILLES, KY 40383


               FFL Number:                  46101473                          Last Inspection:           05/24/2010
               Contact Name:                                                  Phone:                     (859) 873-9544
               Invoice Number:                                                Transaction Date:          06/28/2013



               Dealer: 3
               Business Name:               KENT SHOOTERS SUPPLY                                         Out of Business
               Licensee Name:               RJJ INC
               Address:                     307 WASHINGTON BLVD
                                            OGDEN, UT 84404


               FFL Number:                  98733042                          Last Inspection:           09/06/2018
               Contact Name:                                                  Phone:                     (801) 394-8487
               Invoice Number:                                                Transaction Date:          10/30/2013




               Purchaser Information

               Name:                   GABRIEL COLIN LEATHERBURY                                 Criminal       N/A
                                                                                                 History?
               Last Known              5152 S 100 E                                              Race:          WHITE
               Address:                WASHINGTON TERRACE, UT 84405



                                                                                                 Sex:           M

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          Case
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                                                                                    - Trace Detail
               Purchase Date:          11/06/2013                                               Height:        5 ft 10 in
                                                                                                Weight:        200 lbs
               DOB:                    10/31/1981
               POB:                    CARROLLTON, KY
                                       UNITED STATES

               ID 1:                   UT    DRIVER'S LICENSE                                   #: 193079282
               Country 1:              UNITED STATES
               ID 2:                    SOCIAL SECURITY                                         #: 7033
               Country 2:              UNITED STATES

               Alias Name:                                                                      Alias DOB:




               Possessor/Associate Information
               Possessor
               Name:                   DANA JEAN STEELE                                         Criminal       N/A
                                                                                                History?
               Last Known              1231 VALHALLA DR                                         Race:          WHITE
               Address:                CLEARFIELD, UT 84015



                                                                                                Sex:           F
                                                                                                Height:        5 ft 8 in
                                                                                                Weight:        175 lbs
               DOB:                    10/18/1967
               POB:
                                       UNITED STATES

               ID 1:                         SOCIAL SECURITY                                    #:***_**_6158
               Country 1:              UNITED STATES
               ID 2:                    FBI CRIMINAL ID                                         #: 407764EB1
               Country 2:              UNITED STATES

               Alias Name:                                                                      Alias DOB:


               Associate
               Name:                   JUSTIN MICHAEL VANDERWOUDE                               Criminal       N/A
                                                                                                History?
               Last Known              1231 VALHALLA DR                                         Race:          WHITE
               Address:                CLEARFIELD, UT 84015



                                                                                                Sex:           M
                                                                                                Height:        5 ft 8 in
                                                                                                Weight:        150 lbs
               DOB:                    10/21/1980
               POB:
                                       UNITED STATES

               ID 1:                         SOCIAL SECURITY                                    #:***_**_9846
               Country 1:              UNITED STATES
               ID 2:                    FBI CRIMINAL ID                                         #: 190028TB7
               Country 2:              UNITED STATES

               Alias Name:                                                                      Alias DOB:




               Administrative Information
               Priority:                    ROUTINE
               NCIC Crime Code:             5212                         POSSESSION OF WEAPON
               Special Instructions:

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          Case
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                                                                                    - Trace Detail
               Gang Name:

               Trace Indicators:            NAR - NARCOTICS RELATED



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           intelligence purpose. This provision shall not be construed to prevent the sharing or exchange of such information among and between
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          Case
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            Firearm Trace Details
                 View the Referral Lists associated with this trace                                                      Printer-Friendly Report(PDF)

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                                  Trace Reference
                                  Trace Number:                      T20210051088            Request Date:                 02/03/2021
                                  Status:                            Completed               eTrace User:                  MKRUEG1
                                  Completion Date:                   02/03/2021


                                  Summary of Results
                                  THIS FIREARM WAS TRACED TO A PURCHASER. FOR ANY QUESTIONS, PLEASE CONTACT ATF NATIONAL
                                  TRACING CENTER, FIREARMS TRACING BRANCH AT 1-800-788-7133.
                                  Additional Remarks:         THIS FIREARM WAS PREVIOUSLY TRACED FOR C FOLLUM WITH THE WEBER
                                                              COUNTY SHERIFF'S OFFICE, TRACE NUMBER T20120122544, CASE NUMBER 12-
                                                              12728, CONTACT NUMBER (801) 778-6602, TRACE COMPLETED ON 04/27/2012.



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                                  Firearm Information
                                  Manufacturer:                  ARMSCOR OF THE PHILIPPINES         Type:                        REVOLVER
                                                                 (SQUIRES BINGHAM)
                                  Caliber:                       38
                                  Model:                         200
                                  Serial Number:                 AP210314                           Country of Origin:           PHILIPPINES
                                  Barrel:                                                           Ballistics No.:
                                  Finish:
                                  Importer:                      API - ARMSCOR PRECISION INC. PAHRUMP, NV
                                  Obliterated?                   No                                 Removal Code:
                                  Restored:                                                         Drill Size:
                                  Identifying Marks:
                                  Images Attached:               0


                                  Requestor Information
                                  Law Enforcement Agency                                 Officer Last Name:              BURRELL
                                  UT0290100
                                  OGDEN CITY POLICE DEPARTMENT
                                                                                         Officer Suffix:
                                  2186 LINCOLN AVENUE
                                  OGDEN, UT 84401
                                  UNITED STATES                                          Officer First Name:             KASEY
                                  PHONE (801) 629-8221 Ext:
                                  FAX (801) 629-8086

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          Case
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                                                                                    - Trace Detail
                                                                        Officer Badge No.:


               Agency Case No.:            21N-94


               Recovery Information
               Firearm Recovered

               Recovery Date:         01/28/2021                              Time to Crime:                     3315 days
               Address:               1231 VALHALLA DR                        Vehicle Year:
                                      CLEARFIELD, UT 84015
                                                                              Vehicle Make:

                                                                              Vehicle Model:
                                                                              Vehicle Tag Number:
               Location Type:         RESIDENCE                               Vehicle Tag State:
                                                                              Vehicle Tag Country:




               Dealer Information
               Dealer: 1
               Business Name:               ROCK ISLAND ARMORY/APINTL
               Licensee Name:               ARMSCOR PRECISION INTERNATIONAL
               Address:                     150 N SMART WAY
                                            PAHRUMP, NV 89060


               FFL Number:                  98800908                          Last Inspection:           10/20/2016
               Contact Name:                                                  Phone:                     (775) 537-1444
               Invoice Number:                                                Transaction Date:



               Dealer: 2
               Business Name:               WSS QUINCY IL                                                Out of Business
               Licensee Name:               WILLIAMS SHOOTERS SUPPLY INC
               Address:                     1813 QUINTRON WAY
                                            QUINCY, IL 62305


               FFL Number:                  33713307                          Last Inspection:           11/10/2008
               Contact Name:                                                  Phone:                     (217) 222-4195
               Invoice Number:                                                Transaction Date:          09/30/2010



               Dealer: 3
               Business Name:               RODS ARMORY GALLERY                                          Out of Business
               Licensee Name:               BEASLEY, RODNEY D
               Address:                     1557 FOOTHILL DR #A102
                                            BOULDER CITY, NV 89005


               FFL Number:                  98801715                          Last Inspection:           06/15/2017
               Contact Name:                                                  Phone:                     (702) 566-5505
               Invoice Number:              21046541                          Transaction Date:          12/21/2010




               Purchaser Information

               Name:                   RODNEY DALE BEASLEY                                       Criminal       N/A
                                                                                                 History?
               Last Known              832 BRAHMA LN                                             Race:          WHITE
               Address:                HENDERSON, NV 89002


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          Case
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                                                                                    - Trace Detail


                                                                                                Sex:           M
               Purchase Date:          01/01/2012                                               Height:
                                                                                                Weight:
               DOB:                    07/16/1951
               POB:                    VA
                                       UNITED STATES

               ID 1:                         SOCIAL SECURITY                                    #: 7977
               Country 1:              UNITED STATES
               ID 2:                                                                            #:
               Country 2:

               Alias Name:                                                                      Alias DOB:




               Possessor/Associate Information
               Possessor
               Name:                   DANA JEAN STEELE                                         Criminal       N/A
                                                                                                History?
               Last Known              1231 VALHALLA DR                                         Race:          WHITE
               Address:                CLEARFIELD, UT 84015



                                                                                                Sex:           F
                                                                                                Height:        5 ft 8 in
                                                                                                Weight:        175 lbs
               DOB:                    10/18/1967
               POB:
                                       UNITED STATES

               ID 1:                         SOCIAL SECURITY                                    #:***_**_6158
               Country 1:              UNITED STATES
               ID 2:                    FBI CRIMINAL ID                                         #: 407764EB1
               Country 2:              UNITED STATES

               Alias Name:                                                                      Alias DOB:


               Associate
               Name:                   JUSTIN MICHAEL VANDERWOUDE                               Criminal       N/A
                                                                                                History?
               Last Known              1231 VALHALLA DR                                         Race:          WHITE
               Address:                CLEARFIELD, UT 84015



                                                                                                Sex:           M
                                                                                                Height:        5 ft 8 in
                                                                                                Weight:        150 lbs
               DOB:                    10/21/1980
               POB:
                                       UNITED STATES

               ID 1:                         SOCIAL SECURITY                                    #:***_**_9846
               Country 1:              UNITED STATES
               ID 2:                    FBI CRIMINAL ID                                         #: 190028TB7
               Country 2:              UNITED STATES

               Alias Name:                                                                      Alias DOB:




               Administrative Information
               Priority:                    ROUTINE

https://etrace.atf.gov/etrace/trace_detail.do?id=T20210051088&trace_suspect_guns=false&trace_multiple_sales=false&trace_interstate_theft=false&t…   3/4
          Case
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                                                                 ATF Online   12/07/23       PageID.178 Page 24 of 31
                                                                                    - Trace Detail
               NCIC Crime Code:             5212                         POSSESSION OF WEAPON
               Special Instructions:
               Gang Name:

               Trace Indicators:            NAR - NARCOTICS RELATED



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            Administrative legal process or litigation. That expert testimony or Interstate Nexus determination is made through
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          Case
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            Firearm Trace Details
                 View the Referral Lists associated with this trace                                                      Printer-Friendly Report(PDF)

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                                  Trace Reference
                                  Trace Number:                      T20210051110            Request Date:                 02/03/2021
                                  Status:                            Completed               eTrace User:                  MKRUEG1
                                  Completion Date:                   03/28/2021


                                  Summary of Results
                                  THIS FIREARM WAS TRACED TO A PURCHASER. FOR ANY QUESTIONS, PLEASE CONTACT ATF NATIONAL
                                  TRACING CENTER, FIREARMS TRACING BRANCH AT 1-800-788-7133.
                                  Additional Remarks:         MODEL WAS RECORDED ON FORM 4473 AS PSL54.



                                  The information in this report must be validated prior to use in any criminal proceedings.



                                  Firearm Information
                                  Manufacturer:                  ROMARM/CUGIR                       Type:                        RIFLE
                                  Caliber:                       762
                                  Model:                         PSL
                                  Serial Number:                 R-9749-09                          Country of Origin:           ROMANIA
                                  Barrel:                                                           Ballistics No.:
                                  Finish:
                                  Importer:                      CAI GEORGIA VT - CENTURY INTL ARMS INC.
                                  Obliterated?                   No                                 Removal Code:
                                  Restored:                                                         Drill Size:
                                  Identifying Marks:
                                  Images Attached:               0


                                  Requestor Information
                                  Law Enforcement Agency                                 Officer Last Name:              BURRELL
                                  UT0290100
                                  OGDEN CITY POLICE DEPARTMENT
                                                                                         Officer Suffix:
                                  2186 LINCOLN AVENUE
                                  OGDEN, UT 84401
                                  UNITED STATES                                          Officer First Name:             KASEY
                                  PHONE (801) 629-8221 Ext:
                                  FAX (801) 629-8086
                                                                                         Officer Badge No.:




https://etrace.atf.gov/etrace/trace_detail.do?id=T20210051110&trace_suspect_guns=false&trace_multiple_sales=false&trace_interstate_theft=false&tr…      1/4
          Case
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                                                                                    - Trace Detail
               Agency Case No.:            21N-94


               Recovery Information
               Firearm Recovered

               Recovery Date:         01/28/2021                              Time to Crime:                         4039 days
               Address:               1231 VALHALLA DR                        Vehicle Year:
                                      CLEARFIELD, UT 84015
                                                                              Vehicle Make:

                                                                              Vehicle Model:
                                                                              Vehicle Tag Number:
               Location Type:         RESIDENCE                               Vehicle Tag State:
                                                                              Vehicle Tag Country:




               Dealer Information
               Dealer: 1
               Business Name:               C A I / CENTURY ARMS
               Licensee Name:               CENTURY INTL ARMS INC
               Address:                     236 BRYCE BLVD
                                            GEORGIA, VT 05454-5529


               FFL Number:                  60305541                           Last Inspection:           02/12/2020
               Contact Name:                                                   Phone:                     (802) 527-1258
               Invoice Number:                                                 Transaction Date:



               Dealer: 2
               Business Name:               CENTERFIRE SYSTEMS INC                                        Out of Business
               Licensee Name:               UNITED ARMS CORPORATION
               Address:                     102 FIELDVIEW DRIVE
                                            VERSAILLES, KY 40383


               FFL Number:                  46101473                           Last Inspection:           05/24/2010
               Contact Name:                                                   Phone:                     (859) 873-9544
               Invoice Number:                                                 Transaction Date:          12/15/2009



               Dealer: 3
               Business Name:               KENT SHOOTERS SUPPLY                                          Out of Business
               Licensee Name:               RJJ INC
               Address:                     307 WASHINGTON BLVD
                                            OGDEN, UT 84404


               FFL Number:                  98733042                           Last Inspection:           09/06/2018
               Contact Name:                                                   Phone:                     (801) 394-8487
               Invoice Number:                                                 Transaction Date:          12/29/2009




               Purchaser Information

               Name:                   GABRIEL COLIN LEATHERBURY                                  Criminal       N/A
                                                                                                  History?
               Last Known              2335 N MARINE DR APT 10                                    Race:          WHITE
               Address:                PORTLAND, OR 97217



                                                                                                  Sex:           M

https://etrace.atf.gov/etrace/trace_detail.do?id=T20210051110&trace_suspect_guns=false&trace_multiple_sales=false&trace_interstate_theft=false&tr…   2/4
          Case
12/5/23, 10:16 AM 1:21-cr-00073-RJS-DBP                 Document 64   Filed- eTrace
                                                                 ATF Online   12/07/23       PageID.181 Page 27 of 31
                                                                                    - Trace Detail
               Purchase Date:          01/07/2010                                               Height:         5 ft 10 in
                                                                                                Weight:         220 lbs
               DOB:                    10/31/1981
               POB:                    KY
                                       UNITED STATES

               ID 1:                   OR    DRIVER'S LICENSE                                   #: 8548163
               Country 1:              UNITED STATES
               ID 2:                    SOCIAL SECURITY                                         #: 7033
               Country 2:              UNITED STATES

               Alias Name:                                                                      Alias DOB:
               Notes:                  PURCHASER BIRTH CITY RECORDED AS CARROLTON ON FORM 4473.




               Possessor/Associate Information
               Possessor
               Name:                   DANA JEAN STEELE                                         Criminal        N/A
                                                                                                History?
               Last Known              1231 VALHALLA DR                                         Race:           WHITE
               Address:                CLEARFIELD, UT 84015



                                                                                                Sex:            F
                                                                                                Height:         5 ft 8 in
                                                                                                Weight:         175 lbs
               DOB:                    10/18/1967
               POB:
                                       UNITED STATES

               ID 1:                         SOCIAL SECURITY                                    #:***_**_6158
               Country 1:              UNITED STATES
               ID 2:                    FBI CRIMINAL ID                                         #: 407764EB1
               Country 2:              UNITED STATES

               Alias Name:                                                                      Alias DOB:


               Associate
               Name:                   JUSTIN MICHAEL VANDERWOUDE                               Criminal        N/A
                                                                                                History?
               Last Known              1231 VALHALLA DR                                         Race:           WHITE
               Address:                CLEARFIELD, UT 84015



                                                                                                Sex:            M
                                                                                                Height:         5 ft 8 in
                                                                                                Weight:         150 lbs
               DOB:                    10/21/1980
               POB:
                                       UNITED STATES

               ID 1:                         SOCIAL SECURITY                                    #:***_**_9846
               Country 1:              UNITED STATES
               ID 2:                    FBI CRIMINAL ID                                         #: 190028TB7
               Country 2:              UNITED STATES

               Alias Name:                                                                      Alias DOB:




               Administrative Information
               Priority:                    ROUTINE
               NCIC Crime Code:             5212                         POSSESSION OF WEAPON

https://etrace.atf.gov/etrace/trace_detail.do?id=T20210051110&trace_suspect_guns=false&trace_multiple_sales=false&trace_interstate_theft=false&tr…   3/4
          Case
12/5/23, 10:16 AM 1:21-cr-00073-RJS-DBP                 Document 64   Filed- eTrace
                                                                 ATF Online   12/07/23       PageID.182 Page 28 of 31
                                                                                    - Trace Detail
               Special Instructions:
               Gang Name:

               Trace Indicators:            NAR - NARCOTICS RELATED



            This report does not constitute a fulfillment of the Interstate Nexus requirement in any Federal, State or
            Administrative legal process or litigation. That expert testimony or Interstate Nexus determination is made through
            trained experts who must be contacted at the local ATF Field Office or Field Division Directorate.

                                         Sensitive but Unclassified - For Official Use Only
               Back

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           firearm trace related data to a Federal, State, local, tribal, or foreign law enforcement agency, or a Federal, State, or local prosecutor,
           solely in connection with and for use in a criminal investigation or prosecution; or a Federal agency for a national security or
           intelligence purpose. This provision shall not be construed to prevent the sharing or exchange of such information among and between
           Federal, State, local, or foreign law enforcement agencies, Federal, State, or local prosecutors, and Federal national security,
           intelligence, or counterterrorism officials.

            If you have difficulty accessing any information in the site due to a disability, please contact us via email ( etraceadmin@atf.gov ) and
                                                  we will do our best to make the information available to you.

               This site is best viewed at 800x600 screen resolution or higher using Internet Explorer 10.0 or higher, Edge, Firefox, or Chrome.


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                       ATTACHMENT B
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                              QUALIFICATIONS STATEMENT

                                 Tyler K. Olson, Special Agent
                      Bureau of Alcohol, Tobacco, Firearms and Explosives
                                     Denver Field Division
                                   Salt Lake City Field Office

    I, Tyler K. Olson, hereby declare and state:

    1. I am employed as a Special Agent with the Bureau of Alcohol, Tobacco, Firearms
       and Explosives (ATF), and have been so employed since April 2008. As a Special
       Agent with ATF, one of my responsibilities is conducting criminal investigations
       concerning violations of Federal firearm laws. I was previously employed as an ATF
       Industry Operations Investigator (IOI) starting in October of 2004. As an IOI, I was
       responsible for conducting firearm application and compliance inspections for
       Federal Firearm Licensees (FFLs).

    2. I have a Bachelor of Science Degree in Business Administration/Marketing from
       Weber State University in Ogden, Utah, and a Master of Business Administration
       Degree from Westminster College in Salt Lake City, Utah. I am currently enrolled at
       Oklahoma State University working towards a Master of Forensic Science degree
       specializing in Arson and Explosive Investigation (21 of 32 hours completed).

    3. I have received formal training in law enforcement as it pertains to the recognition
       and identification of firearms and ammunition. This training includes, but is not
       limited to the following:

          ATF Industry Operations Investigator Basic Training, ATF National Academy,
           Glynco, Georgia (2004).
          Criminal Investigator Training Program, Federal Law Enforcement Training
           Center, Glynco, Georgia (2008).
          ATF Special Agent Basic Training, ATF National Academy, Glynco, Georgia
           (2008).
          Firearms Interstate Nexus Training, ATF Firearms Technology Branch,
           Martinsburg, West Virginia (2012).

    4. The ATF Firearms Interstate Nexus Training Course in Martinsburg, West Virginia,
       included specialized training on the definition of firearms, manufacturer and importer
       marking requirements, examining actual firearm markings, and reference material for
       researching firearms. I personally examined the ATF Firearms Technology Branch’s
       Reference Collection, which included over 10,000 firearms (now over 14,000
       firearms).

    5. During the course of my duties, I have had numerous contacts with Federal firearm
       importers, manufacturers and/or dealers. I have examined thousands of firearms for
       the purpose of determining the manufacturer and/or importer, model, caliber/gauge,
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         serial number, place of manufacturer; function and design, and status as related to the
         Gun Control Act and/or National Firearms Act.

    6. I have personally toured many firearm and ammunition manufacturing facilities
       including Armscor International, Arsenal, Wild West Guns, Jimenez Arms,
       Henderson Defense Industries, Rifle Dynamics, Long Mountain Outfitters, Silver
       State Armory, New Frontier Armory, Nevada Cartridge, Browning Arms, Kodiak
       Industries, Cobra Enterprises, North American Arms, and OSS Suppressors
       (Huxwrx). I have observed the steps, processes, and equipment used in the
       manufacturing of firearms and ammunition.

    7. I have access to internal ATF databases and other proprietary information relating to
       firearm tracing, registration, licensing, inspections, firearm markings, variances, and
       technical reports relating to the identification and classification of firearms and/or
       ammunition. I regularly receive updated technical information from other ATF
       personnel involved in interstate nexus determinations.

    8. I have accumulated a personal reference library of firearm and ammunition related
       publications such as Gun Trader’s Guide, Gun Digest, Flayderman’s Guide to
       Antique American Firearms, Blue Book of Gun Values, Cartridges of the World, and
       Ammo Encyclopedia. I maintain a reference library of historical firearm records and
       common proof marks utilized by numerous foreign countries. I subscribe to current
       firearm related magazines such as Guns and Ammo, in order to remain familiar with
       firearms and firearm trends. I have no previous publications.

    9. I have acquired knowledge and experience as to the interstate nexus of firearms and
       ammunition, through my training, FFL inspections, criminal investigations, research,
       conferring with other experts, teaching, and certifications. I prepare reports and
       official correspondence relating to the identification, origin, and classification of
       firearms and ammunition under the provisions of the Federal firearm laws.

    10. I have been recognized as an expert witness in determining the interstate nexus of
        firearms and ammunition in the United States District Court for the District of Utah
        and District of Nevada.

    11. Previous Testimony:

    Date of Testimony                  Court                                       Case
        1/31/2023       U.S. District Court, District of Utah   U.S. v. Brandon Thompson 2:21-CR-316
       12/12/2018       U.S. District Court, District of Utah   U.S. v. Dean 2:18-CR-128
        7/31/2018       U.S. District Court, District of Utah   U.S. v. Fernando Samora 2:17-CR-637



                               _________________________________
                                         Tyler K. Olson
                                          Special Agent


    Revised 4/19/2023
